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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )            CASE NO. 8:02CR353
                                                )
                     Plaintiff,                 )
                                                )               MEMORANDUM
       vs.                                      )                AND ORDER
                                                )
BARRY RENFOLD COOLEY,                           )
                                                )
                     Defendant.                 )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody (Filing No. 606) and a

motion to amend a previous Order (Filing No. 626), filed by the defendant, Barry Renfold

Cooley. The government filed an Answer, a supporting brief and evidence in the form of

an Affidavit of defense counsel, William L. Switzer, Jr. (Filing Nos. 623, 624, 625.) Cooley

did not file a brief or evidence in response.

       On initial review, the Court summarily dismissed the fifth claim and ordered the

government to answer claims one through four. Although the Court did not specifically

address claims six and seven, they are similar to claim one.

                                  FACTUAL BACKGROUND

       Cooley was found guilty after a jury trial of Count I of the Indictment charging him

with conspiracy to distribute and possess 50 grams or more of a mixture or substance

containing a detectable amount of cocaine base. (Filing No. 336.) The day before trial,

the government filed a notice of prior convictions, or Information (Filing No. 279), alleging

two prior felony drug convictions. The Information charges the following prior convictions:

1) a January 13, 1988, conviction for possession of a narcotic controlled substance for sale

for which Cooley was allegedly sentenced to 180 days in jail and 36 months probation; and
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2) a January 9, 1990, conviction for possession and/or purchase of cocaine base for sale

and transporting or selling a narcotic controlled substance, for which Cooley was reportedly

sentenced to 4 years imprisonment. (Filing No. 279.) The record does not reflect that

Cooley was advised of the Information in court. However, the Information was served on

defense counsel, which satisfies the service requirement of § 851(a)(1). (Filing No. 279.)

Mr. Switzer’s affidavit establishes that Cooley was aware of the Information and its

requirement of a life sentence. (Filing No. 625.) Cooley did not file a written objection to

the Information.

       The Revised Presentence Investigation Report (“PSR”) reflects the following prior

felony drug convictions: October 18, 1987, possession with intent to deliver crack cocaine;

August 16, 1989, possession of crack cocaine; and September 13, 1989, transportation

and selling of crack cocaine. All three convictions arose in the Los Angeles County

Superior Court. It appears that the three cases were consolidated for sentencing, and

Cooley received 4 years imprisonment for each offense. (PSR, ¶¶ 62-64.) The January

13, 1988, conviction listed as the first conviction in the Information does not appear in the

PSR.

       Defense counsel objected to Cooley’s three prior felony convictions listed in ¶¶ 62-

64 of the PSR. At sentencing, the government met its burden in proving those three prior

convictions. (Filing No. 538 (“Tr. I”); Filing No. 539 (“Tr. II”), at 39-43.) Cooley had no

rebuttal evidence. (Tr. II, at 43.) Cooley’s objections to the PSR relating to other criminal

history points and the lack of a role reduction were granted. (Id. at 43-50.) Cooley’s base

offense level was 38, and after a minor role reduction under U.S.S.G. § 3B1.2(b) the total

offense level was stated to be 36. With placement in criminal history category IV, his

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sentencing guideline range was stated as 262-327 months. The statutory range was said

to be 10 years to life imprisonment. (Id. at 50.) After additional discussion, the Assistant

United States Attorney, Nancy Svoboda, stated:

              MS. SVOBODA:          Judge, the way this has turned out is what I
       believe – where I believe this case is right now, a couple of things. Given the
       calculations that you have just made, Mr. Cooley’s sentencing guideline
       range is at 262 to 327 months.

             However, I submit to you, ma’am, that career offender applies which
       would place him at a level 37, criminal history VI.

               I also submit, ma’am, that based on what I believe the evidence is
       that’s been received, is that the United States has shown that Mr. Cooley has
       at least two prior drug felonies, the conviction that happened in this case, the
       case before you, 02-353, would be his third.

              Judge, the day before trial I filed an information on prior conviction
       which appears at filing number 279. It was filed on May 18, 2004. And we
       started trial, ma’am – started picking the jury on May 19.

              Judge, according to the way the statute, 21 U.S.C. 851 and 21 U.S.C.
       841(b) and the subparagraph under that, it appears as though, ma’am, I
       believe Mr. Cooley should receive a life sentence.

(Id. at 52-53.)

       Ms. Svoboda explained further why she believed that a life sentence was required.

(Id. at 53-54.) The probation officer agreed with Ms. Svoboda. (Id. at 54.) Defense

counsel argued that a life sentence would be unfair given Cooley’s role in the offense and

the sentences of the other members of the conspiracy. 1


       1
         In the case of Erroll Flynn Shepard, an Information was filed listing one prior
conviction. (Filing No. 277.) The prior conviction was reflected in the PSR and sentencing
recommendation, and therefore a 20-year mandatory minimum sentence was required.
(Filing No. 454.) He was initially sentenced to 360 months (Filing No. 457), and on remand
to 300 months (Filing No. 595).



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       The Court set out its guideline calculation resulting in a guideline range of 262-327

months, based on a total offense level of 36 and placement in criminal history category IV.

The Court, the parties and the probation officer neglected to account for the Chapter Four

career offender enhancement under U.S.S.G. § 4B1.1 in light of the Defendant’s prior

felony drug convictions in ¶¶ 62-64 of the PSR. Under § 4B1.1, the application of the

career offender guideline would have resulted in a sentencing guideline range of 360

months to life, based on a total offense level of 37 and placement in criminal history VI.

(Id., at 50.) When Ms. Svoboda raised the issue of a life sentence, the Court continued

the hearing to allow the parties the opportunity to research the issue of the potential life

sentence. (Id. at 57-58.) At the final sentencing hearing one month later, neither party

offered a basis upon which to argue that the Court was not bound to impose a life

sentence. (Filing No. 540 (“Tr. III”), at 64.) A life sentence was imposed. (Filing No. 515.)


      Vincent Brown pleaded guilty and received a sentence of 46 months. (Filing
No. 409.) An information alleging prior convictions was not filed.

        In Roy C. Straughn’s case, an Information was filed alleging two prior convictions.
(Filing No. 278.) The alleged mandatory life sentence was erroneously not reflected in the
PSR or sentencing recommendation. (Filing No. 523.) However, Straughn’s objection to
the information (Filing No. 477) apparently brought the issue to the Court’s attention. The
government was unable to meet its burden of proof with respect to those convictions.
(Filing No. 541 (Tr.), at 10, 22.) Straughan was sentenced to 360 months imprisonment.
(Filing No. 527.) His sentence was affirmed on appeal. (Filing No. 552.)

        The government filed an Information in Tony Skannell’s case. (Filing No. 283.) The
PSR and sentencing recommendation reflected the effect of the alleged prior conviction.
(Filing No. 486.) Because the Information was filed approximately two hours after voir dire
began, the filing was untimely and Skannell was not subject to a term of life imprisonment.
(Filing No. 440.) Skannell was sentenced to 360 months imprisonment. (Filing No. 466.)
He received the same sentence on remand. (Filing No. 593.)

        Oraina Fellows pleaded guilty and was sentenced to 40 months imprisonment.
(Filing No. 408.) An information alleging prior convictions was not filed.

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Cooley filed a direct appeal, and the Eighth Circuit Court of Appeals affirmed his conviction

and sentence, noting that he was sentenced under the Information requiring a life

sentence. (Filing No. 552.)

       Cooley timely filed his § 2255 motion. The government answered the motion, filed

a supporting brief and an affidavit of defense counsel. (Filing Nos. 623, 624, 625.) Cooley

filed a motion to amend his § 2255 motion due to “typos”and “omissions.” (Filing No. 617.)

The Court denied the motion to amend, noting that the amended motion was not

substantially different from the original motion. (Filing No. 621.) The Court adds that the

most noticeable difference is the addition of an “affidavit” of Cooley. However, the affidavit

neither was signed by a notary nor was properly sworn in accordance with the

requirements of 28 U.S.C. § 1746. (Filing No. 618.) Therefore, the affidavit may not be

considered. Cooley objects to the order denying his motion to amend, arguing that the

Court’s decision was unfair. (Filing No. 626.)

                                       DISCUSSION

       In his § 2255 motion, Cooley argues in claims one through four that he received

ineffective assistance of counsel, because his trial attorney, William L. Switzer, Jr., failed

to: challenge the notice of prior convictions enhancing his statutory sentencing range to a

period of life imprisonment; allow him to testify at trial; give him proper advice about the

strength of the evidence and the sentence he faced during plea negotiations; file an

application for a writ of certiorari upon being requested to do so; and object to use of his

prior convictions where the convictions were not proved to a jury or decided by the Court

beyond a reasonable doubt. In claims six and seven, Cooley argues that defense counsel

was ineffective for not arguing that Cooley was improperly sentenced to life imprisonment

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when he had only one prior qualifying conviction and for failing to appeal this issue to the

Eighth Circuit. (Filing No. 606.)

       In order to establish ineffective assistance of counsel, Cooley must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

Claim One: the Information Filed Under 21 U.S.C. § 851

       21 U.S.C. § 841(b) provides that if a defendant violates the statute after two or more

prior felony drug convictions, the defendant is subject to a mandatory life sentence.

Alternatively, with one qualifying prior conviction, the statutory mandatory minimum is

raised from 10 to 20 years. 21 U.S.C. § 851 sets out the procedure for: filing an

Information, or notice, of prior convictions; objecting to the notice; and imposing sentence

in the absence of an objection when prior convictions have been proved.

       Cooley argues that the notice was defective because it failed to cite an unspecified

statute and despite the § 851 notice he was unaware that he faced life imprisonment if he

continued to trial. He maintains that he thought he faced between ten years and life

imprisonment.




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       The § 851 service requirements of § 851(a)(1) were met. (Filing No. 279.) Mr.

Switzer’s affidavit clearly shows that the Information and its effect on Cooley’s sentence

were discussed with Cooley prior to his rejection of the government’s final plea offer prior

to trial. (Filing No. 625.) The Information set out two prior convictions, and upon defense

counsel’s objections to Cooley’s three prior qualifying felonies, all three convictions were

proved at sentencing. Because there is a clerical error in the § 851 notice, the better

course would have been for the government to amend the notice. United States v. Curiale,

390 F.3d 1075, 1077 (8th Cir. 2004).        However, “[a]n information complies with the

requirements of § 851(a) even if it contains an error in its contents as long as the

information serves to convey the Government’s intent to seek an enhancement based on

a particular earlier conviction. In applying the statute’s requirements, courts are careful not

to elevate form over substance.” Id. at 1076-77 (citations omitted). Therefore, where the

government proved three qualifying prior convictions at sentencing upon defense counsel’s

objections to those three prior convictions, defense counsel was not ineffective. Cooley

has not proved either prong of the Strickland test, and this claim is denied.

Claim Two: Allowing Defendant’s Testimony at Trial

       Cooley argues that his attorney did not allow him to testify at trial as Cooley wished.

Mr. Switzer’s affidavit indicates that Cooley refused to testify when asked if he wished to

do so. Moreover, even if Mr. Switzer advised Cooley not to do so, such advice would

undoubtedly be presumed as very sound trial strategy based on Cooley’s extensive prior

criminal history that could have been raised under Federal Rule of Evidence 404(b). White




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v. Roper, 416 F.3d 728, 732 (8th Cir. 2005). Cooley is unable to prove either prong of the

Strickland test, and the claim is denied.

Claim Three: Advice Regarding Evidence and Sentence During Plea Negotiations

       Cooley contends that his attorney did not give him proper advice regarding the

strength of the government’s case and the sentence he faced during plea negotiations.

As stated clearly in Mr. Switzer’s affidavit, Cooley was advised that he could have pleaded

to an agreement recommending, if not requiring, a ten-year sentence. Cooley refused after

being advised of the merits of the government’s case in great detail, having been shown

the discovery materials, and having been advised of the effect of the § 851 notice. Mr.

Switzer’s extraordinary effectiveness is shown through his written notice to Cooley signed

by Cooley indicating that Cooley was foregoing the proposed plea agreement. (Filing No.

625.) Cooley has not proved either prong of the Strickland test and this claim is denied.

Claim Four: Filing of Application for Writ of Certiorari

       Cooley argues that his attorney failed to file an application for a writ of certiorari at

his direction. According to Mr. Switzer’s affidavit, to the best of his recollection Cooley did

not request that a petition for a writ of certiorari be filed. (Filing No. 625.) Mr. Switzer’s

statement is supported by the record, as a motion to withdraw was not filed pursuant to the

Eighth Circuit’s Amended Criminal Justice Plan. Mr. Switzer states that Cooley’s primary

concern at that time was trying to overturn his California prior convictions, which cannot be

done in federal court. Cooley has not proved either prong of the Strickland test, and this

claim is denied.




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Claims Six and Seven: § 851 Notice

       In Claim Six, Cooley argues that counsel was ineffective for failing to argue that he

had only one prior qualifying conviction, and he argues that therefore he faced between

10 years to life imprisonment rather than a mandatory life sentence.2 In Claim Seven, he

argues that defense counsel was ineffective for failing to raise this claim on appeal. These

claims are intertwined with Claim One and were not specifically addressed on initial review.

       To the extent that initial review of these claims is now required, Rule 4(b) of the

Rules Governing Section 2255 Proceedings for the United States District Courts requires

initial review of a § 2255 motion, and describes the initial review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       The record clearly shows that the government proved three prior qualifying

convictions at sentencing, and therefore, as discussed above, a life sentence under 21

U.S.C. § 851 was appropriate. There is no basis to Cooley’s argument, and therefore

counsel cannot be ineffective for not raising the argument at sentencing or on the appellate

level. Cooley has not proved either prong of the Strickland test, and under the above-

quoted standard these claims are summarily denied.




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        Cooley neglected to consider 21 U.S.C. § 841(b), which provides that a statutory
minimum term of imprisonment is raised from ten to twenty years if a defendant has one
prior qualifying conviction.

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                                     CONCLUSION

       For the reasons discussed, Claims One through Four of the Defendant’s § 2255

 motion are denied on the merits, and Claims Six and Seven are summarily denied. In its

 discretion, the Court denies the Defendant’s motion to amend (Filing No. 626).

       IT IS ORDERED:

       1.     The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

 Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 606) is

 denied as follows:

              a.      Claims One through Four are denied on the merits;

              b.      Claims Six and Seven are summarily denied;

       2.     The Defendant’s motion to amend (Filing No. 626) is denied;

       3.     A separate Judgment will be issued; and

       4.     The Clerk is directed to mail a copy of this Memorandum and Order to the

 Defendant at his last known address.

       DATED this 29th day of January, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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